
45 Mich. App. 382 (1973)
206 N.W.2d 480
ALVARADO
v.
FORD MOTOR COMPANY.
Docket Nos. 12605, 12614.
Michigan Court of Appeals.
Decided March 1, 1973.
Stephen I. Schlossberg, John A. Fillion, and Jordan Rossen, for plaintiffs.
Wright Tisdale (Joseph A. O'Reilly and Richard A. Fellrath, of counsel), for defendant Ford Motor Company.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, and Felix E. League, Assistant Attorney General, for defendant Michigan Employment Security Commission.
*383 Before: J.H. GILLIS, P.J., and BASHARA and O'HARA,[*] JJ.
Leave to appeal denied, 389 Mich 816.
PER CURIAM.
The appellants appeal an order dismissing an appeal taken from the Employment Security Appeal Board to the Wayne County Circuit Court.
Several of the parties to this action were not aggrieved by the decision of the appeal board and were in fact benefited by the decision of that administrative body. They therefore have no grounds to complain.
The remaining parties were not residents of Wayne County at the time the appeal was taken to the Wayne County Circuit Court. MCLA 421.38; MSA 17.540, requires that a claimant take his appeal to the circuit court in the county in which he resides or Ingham County. This statute has been interpreted to be jurisdictional in nature and in no way refers to venue. Peplinski v Employment Security Commission, 359 Mich 665 (1960).
Affirmed.
NOTES
[*]  Former Supreme Court Justice, sitting on the Court of Appeals by assignment pursuant to Const 1963, art 6, § 23 as amended in 1968.

